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Ginited States District Court for the
Porthern District of California

THE EXCELLENT THE EXCELLENT RAJ Kf
from all capacities,

e

NEW CIVIL ACTION

PRO SE COMPLAINT

T.E., T.E. Mr. Raj K. Patel, AA, BA (Rama CCCX) (pro se)
6850 East 21st Street

Indianapolis, IN 46219

Marion County

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wwwerarpatellve

317-450-6651

July 19, 2023
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Wh me

THE EXCELLENT THE EXCELLENT
RAJ K. PATEL, from all capacities,

Plaintiff

Vv.

ALPHABET INC. and GOOGLE LLC.,

Defendants

IN THE UNITED STATES DISTRICT COURT FOR THE. |
NORTHERN DISTRICT OF CALIFORNIA

No.

Dated: July 19, 2023 —

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5 PRO SE COMPLAINT
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1. Jurisdiction. Jurisdiction is proper in this because parties on each side are from

8 different states and Plaintiffs injuries demand is over $75,000.00. 28 U.S.C. § 1332.

28 1600 Amphitheatre Pkwy

2. Venue. Venue is proper in San Jose County because Defendants have their

primary place of business in this county.

‘ -
11 3. Interdivisional Assignment. The case should be assigned to San Jose County
because the contract was most likely drafted there.
PARTIES
PLAINTIFF: CITIZEN OF INDIANA:
16 Raj Patel
17 6850 East 21* Street
18 Indianapolis, IN 46219
19 317-450-6651
200 raj@rajpatel.live
21 rajp2010@email.com
DEFENDANTS, CITIZENS OF DELAWARE:
23 ALPHABET INC.
24 1600 Amphitheatre Pkwy
25 Mountain View, CA 94043
27 GOOGLE LLC
BR ee

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Mountain View, CA 94043

WELL-PLEADED COMPLAINT STANDARDS

“[A] pro se complaint, however inartfully pleaded, must be held to less stringent

standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94

(2007).

IL.

. STATEMENT OF FACTS

Defendant promised, as master of the offer, Plaintiff that it would provide Plaintiff
with the requested information by Plaintiff. Defendant breached the contract
because it failed to provide Plaintiff with information that it agreed to have for the

consideration.

I, Raj K. Patel (Rama CCCX), the Plaintiff (pro se), am a citizen of Indianapolis,

Indiana.

A. From 2009-2010, I was the Student Body President of the Brownsburg
Community School Corporation (“B.C.S.C.”) (corporate sovereign 2009-
present) in Brownsburg, Indiana.

B. From 2013-2014, I was the Student Government Association President of
Emory University, Inc. (corporate sovereign: 2013-present) in Atlanta,
Georgia.

C. In addition to my styles/titles, through my heritage, by my blood /legal-
parents, lam Top 1% of Americans, in terms of income and cash-on-hand.

D. Patel is descendant of South Asian-Indian immigrants and practices
Hinduism, an Old Religion in which caste information is a central tenant,
including for each practitioner's erotic religious pleasure. LC. § 34-13-9-5.

E. Patel is a Leva Patel who is a descendent of King Rama’s old twin-son King

Luva. Patel is protected as a person of social and political origin under
Ii.

IV.

VE.

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_.... international-law-and treaties. Patel is varna tajan-kshatriya as a part of the 0.

chh gam gol (Sojitra) Leva Patidar Samaj. Therefore, Patel is a religious
minority which the Government of India, the same government that
awarded Sundar Pichai the Padma Bushan, is accused of pursuing.
Defendant-Alphabet Inc. is a citizen of the State of Delaware.
A. Alphabet is a body and corporate politic under the Indiana Religious
Freedom Restoration Act.
B. The President is Kent Walker.
C. The CEO, Sundar Pichai, publicly identifies as Hindu.
Defendant-Google LLC is a citizen of the State of Delaware.
A. Google is a body and corporate politic under the Indiana Religious Freedom.
Restoration Act.
B. Google is regulated by the United States and is quasi-governmental.
C. Google, a subsidiary under Alphabet, is an international corporation which
answers and appeases the politics of various countries.
D. The CEO, the same Sundar Pichai, publicly identifies as Hindu.
Lhave been under the constant lawless use of a stress weapon, which causes stress
and physical and mental incapacitations and adversities. See Compl, Patel-v.
United States, No. 1:21-cv-1446-LAS (Fed. Cl. 202_). See also Patel v. United States,

United otates,

No. 22-7472 (U:S. 202_).

A couple of weeks ago before filing the original complaint in August 2022, while
preparing my petition for a writ of certiorari Supreme Court brief, I searched the
caste background of a couple of people, including but not limited fo HLE. Rishi

Sunak.

noticed that no reliable source was found over Google and other search engines.
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IX.

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XII.

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XVI.

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Being a scholar and researcher in politics and religion, I knew this was unusual.

I also needed this information for my social and political interests with Rishi
Sunak, which is kept public. Int’! Covenant on Civ. & Pol. Rts (mandatorily
effective 1992). Int’! Convention on the Rts. of the Child (1989) (mandatory
executive agreement).

I noticed that Google’s privacy policy censures things which it considers to be
subject to its privacy policy, including information of public figures or religious
information.

Googie’s privacy policy, which regulates, its search engine interfered and
burdened by religious free exercise of Hindu varna casteism and erotic, religious
pleasure.

I have been a lifelong user of Google, including its search engine, Gmail, and

‘Google Docs, and Admin Console for the domain www.rajpatel.live, which I

bought from Google.com and hosted by GoDaddy. My free Gmail account is

raip201O@emaibcom.

I agree to use Google’s services for the consideration to help improve its services
and benefits its relationships and offers and acceptance we have agreed to in-fact
and in-law. See Ex. B.

Sexual freedoms and liberation have always been important to me, including
which are certainly to my life, political, and social experiences.

Google adheres to GNI Principles which violate religious free exercise, especially

with the presentation of information. bttps:/ /globainetworkinitiative.org/eni-

principles /.

Google’s Terms of Service — Respect Others indicates that it restricts information

which can defame a person. See Ex. A.
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|.-XVIL.. .-Google’s other moderation and information policies affect our contract.

2 XVII.  Google’s spinning, censorship, regulation, and moderation of caste information,

throughout the globe, affects my religious free exercise, including religious-erotic
pleasure, and socializing. Varna and caste information is the talk of town,
including for each new leader.

XIX. Alphabet, Inc. and Googie LLC, alter egos, are responsible for censuring reliable
sources of The Rt. Hon. Sunak’s caste information through their corporate and
business judgement and corporate affairs which includes Mr. Pichai receiving the
Padma Bushan, indicating that Mr. Pichai, through Google, has helped New Delhi
with its cultural revolution of censuring caste information, e.g. Hindu property is
now located in Pakistan that belongs to Pate! and his family.

A. Mr. Pichai, PB carries the Padma Bhushan (2022), which is the third-highest
civil honor, received on December 3, 2022 by the Ambassador from India to

the United’ States. https://en.wikipedia org /wiki/Sundar Pichai, The

Padma Bushan is not a decoration in the Indian Order of Precedence.

https: / /en.wikipedia.org/wiki/Bharat Ratna. The Padma Bhushan’ is

recommended by the Prime Minister of India to the President of India to
aiding New Delhi’s goals, yet unconstitutional-Indian and/or
unconstitutional-United States. India const. & U.5. const.

XX. This complaint to this Northern District of California follows.

CLAIMS

1. “The award is conferred for ‘distinguished service of a high order...without distinction of race,
occupation, position or sex.’ The criteria include ‘service in any field including service rendered by
Government servants’ but exclude those working with the public sector undertakings, with the exception
of doctors and scientists.” See https:/ /en.wikipedia.org / wiki/Padma_Bhushan# Regulations.

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All paragraphs from above are incorporated into this section. All of the following
claims may be read together, in groups, or individually and each permutation.
All claims are also additionally premised on and aided by Int'l Covenant of Civ.
& Pol. Rts. (effective 1992) (mandatory authority); United Nations Convention on the Rts.
of the Child, Pt. 1, arts. 16 & 27(1) (effective 1995) (kid’s own status) (mandatory executive
agreement); Convention Against Torture & Other Cruel, Inhuman or Degrading
Treatment or Punishment (effective 1966) (mandatory authority); Int’l Convention on the
Elimination of All Forms of Racial Discrimination (effective 1994) (mandatory authority);
and Int’! Covenant on Econ:, Soc. & Cultural Rts. (effective 1977) (mandatory executive
agreement).
CLAIM A / DEFENSE A - Breach of Contract (Frustrate the Purpose) — Defendants
(together or individually) breached the contract when it caused unavailability of the
information that Defendants promised Plaintiff that it would have and make available
to the Plaintiff. In addition, Defendants influenced Patel and Sunak’s social and
political interaction by frustrating the purpose of their contract/promise.
a. Breach the Treaty of Paris (1783). 42 U.S.C. § 1981.
b. Hertzler, James R. “Who Dubbed It ‘The Glorious Revolution?” Albion: A
Quarterly Journal Concerned with British Studies, vol. 19, no. 4, 1987, pp. 579—

85. JSTOR, https: / / www. jstor.org/ stable /4049475. p, 582. (Google’s

motive to breach was its corporate affairs of winning honors from New
Delhi, possibly influenced by its Ministry on the Indian Diaspora) (who
writes the rules).

c. Vectrus Servs. A/S v. United States, 164 Fed. Cl. 693, 767 (2023) (citing

Valentine v. United States ex rel. Neidecker, 299 U.S. 5, 10 (1936)

(“Moreover, the Supreme Court explained that “i]t is a familiar rule that
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uuu. ..... the obligations of treaties should be liberally.construed so as.to give effect ... ...

to the apparent intention of the parties.”)) (citing Restatement (Third) of

Foreign Relations Law).

d. Baltimore & Ohio R.R. Co., 261 U.S. at 597-98 (“Such an agreement will

not be implied unless the meeting of minds was indicated by some
intelligible conduct, act or sign.”) (in the light of surrounding
circumstances).
e. Indiana R.F.R.A., LC, 34-13-9 et seq.
£. Int’l Covenant on Civil and Political Rights (effective in 1992)
g. Int’ Convention on the Rts. of the Child (1989) (mandatory executive
agreement).
h. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM B / DEFENSE B - Contract-Frustrate the Purpose — In addition, Defendants
influenced Patel and Sunak’s social and political interaction by frustrating the purpose

of their contract because the consideration included the right to access caste
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information that is noteworthy for gossiping, general talking, and general profile

information for social and political information.

a.

b.

Breach the Treaty of Paris (1783). 42 U.S.C. § 1981.
Hertzler, James R. “Who Dubbed It “The Glorious Revolution?” Albion: A
Quarterly Journal Concerned with British Studies, vol. 19, no. 4, 1987, pp. 579--

85. JSTOR, https: / / www. jstor.ore / stable / 4049475, p. 582. (Google's

motive to breach was its corporate affairs of winning honors from New
Delhi, possibly influenced by its Ministry on the Indian Diaspora) (who
writes the rules).

Vectrus Servs. A/S v. United States, 164 Fed. Cl 693, 767 (2023) (citing

Valentine v. United States ex rel, Neidecker, 299 U.S. 5, 10 (1936)

(“Moreover, the Supreme Court explained that “[i]t is a familiar rule that
the obligations of treaties should be liberally construed so as to give effect
to the apparent intention of the parties.”)) (citing Restatement (Third) of

Foreign Relations Law).

Baltimore & Ohio R.R. Co., 261 U.S. at 597-98 (“Such an agreement will

not be implied unless the meeting of minds was indicated by some

intelligible conduct, act or sign.”) (in the light of surrounding
circumstances).

Indiana R.ELR.A., LC. 34-13-9 et seq.

Int’] Covenant on Civil and Political Rights (effective in 1992)

Intl Convention on the Rts. of the Child (1989) (mandatory executive
agreement).

Relief:

x. Dollar amount for loss of opportunity in money.
Case 5:23-cv-03647-VKD Document1 Filed 07/24/23 Page 10 of 32

xvii.

xvii.

i» Dollar-amount.immoney..--- -—- -- ne coke ee
. Punitive damages in money.

. Consequential damages in money.

. Compensation damages in money.

. Actual damages in money.

i. Extreme Emotional Distress.

Parasitic Damages.

All other forms of damages in money.

ALPHABET INC. & GOOGLE LLC (“Corporations”)

CLAIM1, Indiana RFRA, IC. 34-13-9 et seq. — Corporations violated my central

religious practice, which has caused the separation of states in Hindu plural India, of
learning and knowing about the caste background of important figures, including
ministers of Parliament, which might be used to defame them including here, in
Indiana, over the Internet, and throughout the globe. The Corporations-imposed
censorship effects my religious and erotic pleasure, and burdens my political free
speech (all “said injury”). The Officers of the Corporations who are Hindu also forced
their religious viewpoints on me. Indiana RFRA creates the duties; Corporations may
not breach the duties; Corporations’ ‘preaches caused my injuries; thus, the
Corporations are liable for my injuries and harm.
a. U.S. const. amend. XIV.

b. Ordered Liberty.

c. Indiana RE.R.A,, LC. 34-13-9 et seq. 42 U.S.C. § 1981.

d. Relief:

i. Dollar amount for loss of opportunity in money.
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CLAIM 2.
CLAIM 3.
CLAIM 4.
CLAIM 5.
CLAIM 6.

CLAIM 7,

a.

b.

CLAIM 8.

ii. Dollar amount in money.

iii. Punitive damages in money.

iv. Consequential damages in money.

v. Compensation damages in money.

vi. Actual damages in money.

vii. Extreme Emotional Distress.
viii. Parasitic Damages.

ix. All other forms of damages in money.
Cal, Corp. Statute § 2502.01 — see CLAIM 1.
NRS 78.060 (2)(e) - see CLAIM 1.

Fla. Stat. § 761.01 et seq. — see CLAIM 1.

Del. L, § 10102 — see CLAIM 1.

Del. const. arts. 1 & IX - see CLAIM 1.
OTHER STATE RFRA LAWS -~ see CLAIM 1:
La. Rev. Stat. § 13:5231, et seq.,

R.I. Gen. Laws § 42-80.1-1, et seq.,

Extreme Emotional Distress (Indiana, Georgia, New York, California,

New Jersey, Nevada, and Delaware) —- Corporations unduly exercised their political

privileges and religious privileges which hindered my free religious exercise.

a.

U.S. const. amend. XIV.

b. Indiana R.F.R.A., LC. 34-13-9 et seq.

Cc.

Relief:
i. Dollar amount for loss of opportunity in money.
ii, Dollar amount in money. .

iii. Punitive damages in money.

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.- Consequential damages in money... ---- |
v. Compensation damages in money. .
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 9. Parasitic Damages (Indiana, Georgia, New York, California, New Jersey,
Nevada, and Delaware) — Corporations knowingly took advanced of my physical and
induced mental impairment and induced incapacities; Corporations prejudicially
attacked my hormones. The said injury adds to my mental stress and my working out
and focus on all other matters, including legal. -
a. U.S. const. amend. XIV.
b. Indiana R.E.R.A., LC. 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money. °
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 10. Negligent Entrustment (Indiana, Georgia, New York, California, New

Jersey, Nevada, and Delaware) — Alphabet Inc. should not have trusted Google fo enact

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its own political and social policy which intersects with Old Religious practices,

particularly of Hinduism.

a. U.S. const. amend. XIV.

b. Indiana R.F.R.A., LC. 34-13-9 et seq.

c. Relief:

i.

ii.

iii.

iv.

v.

vi.

vii.

viii.

ix.

Dollar amount for loss of opportunity in money.
Dollar amount in money.

Punitive damages in money.

Consequential damages in money.
Compensation damages in money.

Actual damages in money.

Extreme Emotional Distress.

Parasitic Damages.

All other forms of damages in money.

CLAIM 11. Respondent Superior (Indiana, Georgia, New York, California, New

Jersey, Nevada, and Delaware) — Alphabet should also be held responsible for

Google’s actions because it is the alter ego.

a. U.S. const. amend. XIV.

b. Indiana R.E.R.A,, LC. 34-13-9 et seq.

c. Relief:
i.

ii.

Dollar amount for loss of opportunity in money.

Dollar amount in money.

. Punitive damages in money.

Consequential damages in money.

Compensation damages in money.

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wi.-Actual damages in money.---.- 2-0 ee ent
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix, All other forms of damages in money.
CLAIM 12. Intentional Infliction of Emotional Distress (Indiana, Georgia, New
York, California, New Jersey, Nevada, and Delaware) — Google, headed by a Hindu,
knew that this policy would affect religious practices. Because of my current mental
state with my induced stress, the said injury effects my working out and focus on all
other matters, including legal.
a. U.S. const. amend. XIV.
b. Indiana R.F.R.A., LC. 34-13-9 et seq.
c. Relief:
i, Dollar amount for loss of opportunity in money,
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii, Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 13. Impossibility — Breach of Confidence and Trust (Indiana, Georgia, New
York, California, New Jersey, Nevada, and Delaware) — The services rendered by

Google are meant to give privacy but filing of this Jawsuit has caused a necessary

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breach of confidence that was impossible to adhere. See Claim 14 (good faith breach;
possible anti-trust behavior).
a. U.S. const. amend. XIV.
b. Indiana R.F.R.A,, LC, 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii, Dollar amount in money.
iti. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 14. Breach of Good Faith & Fair Dealing (Indiana, Georgia, New York,
California, New Jersey, Nevada, and Delaware) - I have an implied-in-fact and/or
implied-in-law contract with the Corporations, especially Google, and I cannot fairly
use the “enjoyment of full benefits” of the contract is also a property right created by
the delivery of the court documents services. Corporations, especially Google, gets ad
revenues for me using its services and other things in Ex. A & B; Corporations had a
legal duty not to interfere with my religious practices; Corporations’ breaches of duties
caused its injuries; and Corporations are thus liable for damages. In addition,
Corporations did not act in good faith to uphold our contract because it did not act any
better than other major search engines, such as Bing.com, DuckDuckGo.com, and

Yahoo.com. See Claims 15-21.

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aa. . a, U,S.-const. amend. XIV... See.also.42 U.S.C. § 1981.

b. Indiana R.F.R.A., LC. 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iti. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix, All other forms of damages in money.
CLAIM 15. Breach of Express Contract (Indiana, Georgia, New York, California, New
Jersey, Nevada, and Delaware) — Corporations, especially Google, gets ad revenues for
me using its services and other things in Ex. A & B; Corporations had a legal duty not
to interfere with my religious practices; Corporations’ breaches of duties caused its
injuries; and Corporations are thus liable for damages. Corporations also had a legal
duty not to interfere with my right to bear arms, especially under the constitutions of
Delaware and Indiana and the United States constitution as incorporated;
Corporations breached its duty when it censored, regulated, spined, and moderated
caste information, especially since casteism is invasive and religious intoxicating and
prone to reduce the free will of the targets its used on, even for the reasonable person,
according to psychology; Corporations breaches caused said injury; and Corporations
are thus liable for damages. Corporations had a legal duty not to interfere with my

protected political rights to socialize with the knowledge of caste as embedded in the

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Privileges and/or Immunities Clauses of the United States Constitutions; Corporations
breached its duty when it censored, regulated, spined, and moderated caste
information; Corporations caused such injury; and Corporations are thus liable for
damages.
a. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.
b. Indiana R.F.R.A., LC. 34-13-9 et seq.
c: Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money. -
CLAIM 16. Breach of Implied-in-Law Contract (Indiana, Georgia, New York,
California, New Jersey, Nevada, and Delaware) — See Claim 15.
a. U.S. const. amend. XIV. See alse 42 U.S.C. § 1981.
b. Indiana R.F.R.A,, LC. 34-13-9 ef seq. -
c. Relief: ..
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money.

iv. Consequential damages in money.

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ao. . —-4¥--Compensation damages.inmoney. . -——-
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 17. Quantum meruit (Indiana, Georgia, New York, California, New Jersey,
Nevada, and Delaware) — I have provided services to Google which it needs, including
to remain duly law abiding and things described in Claim 15.
a. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.
b. Indiana R.E.R.A,, LC. 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii, Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money,
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 18. Quasi-Contract (Indiana, Georgia, New York, California, New Jersey,
Nevada, and Delaware) — See Claim 17.
a. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.
b. Indiana R.F.R.A., LC. 34-13-9 et seq.

c. Relief:

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ix.

Dollar amount for loss of opportunity in money.

. Dollar amount in money.

. Punitive damages in money.

Consequential damages in money.

Compensation damages in money.

i. Actual damages in money.
ii. Extreme Emotional Distress.

. Parasitic Damages.

All other forms of damages in money.

CLAIM 19. Constructive Contract (Indiana, Georgia, New York, California, New

Jersey, Nevada, and Delaware) — See Claim 15-18 & 20-22.

a. U.S. const. amend. XIV. See also 42 U.S.C, § 1981.

b. Indiana R.F.R.A,, 1.C. 34-13-9 et seq.

c. Relief:
i.
ii.
iii.
iv.
Vv.

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1x.

Dollar amount for loss of opportunity in money.
Dollar amount in money.

Punitive damages in money.

Consequential damages in money. -

Compensation damages in money.

‘Actual damages in money.
. Extreme Emotional Distress.

. Parasitic Damages.

All other forms of damages in money.

CLAIM 20. Unjust Enrichment (Indiana) - Corporations rationale decision to

appease anti-casteist and the populist powers and players in its business and consumer

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_-base has unjustly caused.the said harm.to.me; the xationale decision is one made with.

spirituality and religion rather than with Reason, as shown in its various information
management policies. To uphold goodness, Humanism, and the national conscience,
Corporations should be prevented from making an unjust enrichment, which is at the
harm of said harm to me.
a. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.
b. Indiana R.F.R.A,, LC, 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 21. Unjust Enrichment (New York) — Corporations rationale decision to
appease anti-casteist and the populist powers and players in its business and consumer
base has unjustly caused the said harm to me; the rationale decision is one made with
spirituality and religion rather than with Reason, as shown in its various information
management policies. To uphold goodness, Humanism, and the national conscience,
Corporations should be prevented from making an unjust enrichment, which is at the
harm of said harm to me.

a. Seee.g., Sperry v. Crompton Corp., 863 N.E.2d 1012 (N.Y. 2007).

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b. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.

c. Indiana R.E.R.A., LC. 34-13-9 et seq.

d. Relief:
i.

il.

viii.

ix.

CLAIM 22. Unjust Enrichment (California, New Jersey, Nevada, and Delaware) —
Corporations rationale decision to appease anti-casteist and the populist powers and
players in its business and consumer base has unjustly caused the said harm to me; the
rationale decision is one made with spirituality and religion rather than with Reason,
as shown in its various information management policies. To uphold goodness,
Humanism, and the national conscience, Corporations should be prevented from

making an unjust enrichment, which is at the harm of said harm to me.

Dollar amount for loss of opportunity in money.

Dollar amount in money.

i. Punitive damages in money.

Consequential damages in money.

Compensation damages in money.

i. Actual damages in money.

. Extreme Emotional Distress.

Parasitic Damages.

All other forms of damages in money.

a. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.

b. Indiana R.F.R.A., LC. 34-13-9 et seq.

c. Relief:
i.
ii.

iii.

Dollar amount for loss of opportunity in money.
Dollar amount in money.

Punitive damages in money.

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viii.

Consequential damages in.money.. 00-5 ee

Compensation damages in money.

i. Actual damages in money.

i. Extreme Emotional Distress.

Parasitic Damages.

All other forms of damages in money.

CLAIM 23. Negligence ~ Contributory or Comparative — (Indiana, Georgia, New

York, California, New Jersey, Nevada, and Delaware) — All the Defendants share some

sort of responsibility for the harm and injury ensued.

a. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.

b. Indiana R.F.R.A., LC, 34-13-9 et seq.

c. Relief:

iii.

vi.
viii.

ix.

Dollar amount for loss of opportunity. in money.
Dollar amount in money.

Punitive damages in money. —

Consequential damages in money.

Compensation damages in money.

‘Actual damages in money.

Extreme Emotional Distress.
Parasitic Damages.

All other forms of damages in money.

CLAIM 24. Tortious Interference (Indiana, Georgia, New York, California, New

Jersey, Nevada, and Delaware) — Ali of the Defendants directly or indirectly interfered

in my contractual obligation with each other.

a, U.S. const. amend. XIV. See also 42 U.S.C. § 1981.

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b. Indiana R.F.R.A,, LC. 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
vy. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM 25. Conversion (Indiana, Georgia, New York, California, New Jersey,
Nevada, and Delaware) — Google has functionally taken information from the public
domain (non-rival and non-excludable) which I could have used as arms of caste
information and as aggressive philosophy, including when there is social necessity,
protected political rights, and justification.
a. U.S. const, amend. XIV.
b. Indiana R.F.R.A., LC. 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money. -
iv. Consequential damages in money.
v. Compensation damages in money.

vi. Actual damages in money.

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mae. ~~. HL. Extreme Emotional.Distress. 2-2-2. ween ee
viii. Parasitic Damages.
ix. All other forms of damages in money.
CLAIM.26. Adhesion (Indiana, Georgia, New York, California, New Jersey, Nevada,
and Delaware) — Corporations are of superior bargaining power which factors into the
terms of our contracts, and the Terms of Services and Conditions and information ins
Exs. A & B should not read to exempt Corporations from liability.
a. U.S. const. amend. XIV.
b. Indiana R.FE.R.A., LC. 34-13-9 et seq.
c. Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii, Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.

ix. All other forms of damages in money.

- CLAIM 27. Liability (Indiana, Georgia, New York, California, New Jersey, Nevada,

and Delaware) — Corporations qualify for liability to be paid to me. Liability should
be calculated specifically per my social classes and as being rich and as a part of the

Top 1% of Americans. Where appropriate, this. should factor into duty, breach, and

causation too.

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a. Joint — Since the harm is indivisible, the harm should be paid by each
defendant.
b, Severable — Each Defendant should be liable for its portion.
c. Joint & Severable ~ Each Defendant should pay for the totality of harm it
cost me.
~ d. U.S. const. amend, XIV. See alse 42 U.S.C. § 1981.
e. Indiana R.F.R.A., LC. 34-13-9 et seq.
f. Relief:
i. Dollar amount for loss of opportunity in money.
ii, Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. Lots of stocks
x. All other forms of damages in money.
CLAIM 28, Res ipsa loquitur (Indiana, Georgia, New York, California, New Jersey,
Nevada, and Delaware) — Without each defendant the negligence and injuries would
not have happened. Even if each defendant is not negligent, then my injury is still not
explained. I did not put myself in harm’s way.
a. Google: Google designed and regulated the technology which regulates,

spins, or censors caste information.

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_....5... Alphabet: Alphabet has the parent.corporation; its nonfeasance has caused _

this injury to my religious practice.

c. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.

d. Indiana R.F.R.A., LC, 34-13-9 et seq.

e. Relief:
i.

ii.

Dollar amount for loss of opportunity in money.

Dollar amount in money.

. Punitive damages in money.

Consequential damages in money.

Compensation damages in money.

i. Actual damages in money.
i. Extreme Emotional Distress.

. Parasitic Damages.

All other forms of damages in money.

CLAIM 29, Caste Discrimination (common law “glory”).- Google has made

unavailable information that protected by the contract-at-hand social and political

origin and the inherent rights of getting this information have been violated which is

socially prejudicial to Patel’s whose varna caste information is online but not vice

versa because Google breached the contract and influenced Sunak and Patel’s social

and political interaction.

a. Breach the Treaty of Paris (1783).

b. Hertzler, James R. “Who Dubbed It “The Glorious Revolution?” Albion: A

Quarterly Journal Concerned with British Studies, vol. 19, no. 4, 1987, pp. 579-

85. JSTOR, https:/ / www. jstor.org/ stable / 4049475. p. 582, (Google's

motive to breach was its corporate affairs of winning honors from New

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Delhi, possibly influenced by its Ministry on the Indian Diaspora) (who

writes the rules).

_ Vectrtis Servs. A/S v. United States, 164 Fed. Cl. 693, 767 (2023) (citing

Valentine v. United States ex rel, Neidecker, 299 U.S. 5, 10 (1936)

(“Moreover, the Supreme Court explained that “[i]t is a familiar rule that
the obligations of treaties should be liberally construed so as to give effect
to the apparent intention of the parties.”)) (citing Restatement (Third) of

Foreign Relations Law).

_ Baltimore & Ohio R.R. Co., 261 U.S. at 597-98 (“Such an agreement will

not be implied unless the meeting of minds was indicated by some
intelligible conduct, act or sign.”) (in the light of surrounding

circumstances).

. Indiana R.F.R.A,, LC. 34-13-9 et seq.

Int’l Covenant on Civil and Political Rights (effective in 1992)

_ Intl Convention on the Rts. of the Child (1989) (mandatory executive

agreement).

. Relief:

i. Dollar amount for loss of opportunity in money.
ii, Dollar amount in money. -
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.

viii. Parasitic Damages.

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_ix. . All other forms of damages in money..

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CLAIM 30. Fraudulent Concealment — Defendants have hidden Sunak's varna and
caste information even though they agreed to present the information to Plaintiff but
Defendant knew that once Sunak-is famous his caste information would be hidden,
possibly to aid Defendants own corporate affairs and goals, and Plaintiff did not know
that Defendants have concealed or suppressed the fact and influenced Plaintiff's social
and political goals, for glorious reasons the contract-at-hand were meant to ameliorate.
a. Breach the Treaty of Paris (1783).
b. Hertzler, James R. “Who Dubbed It “The Glorious Revolution?’”” Albion: A
Quarterly Journal Concerned with British Studies, vol. 19, no. 4, 1987, pp. 579-

85. JSTOR, https: / / www jstor.org / stable / 4049475, p. 582. (Google's

motive to breach was its corporate affairs of winning honors from New
Delhi, possibly influenced by its Ministry on the Indian Diaspora) (who

writes the rules).

c. Vectrus Servs. A/S v. United States, 164 Fed.iCl. 693, 767 (2023) (citing

Valentine v. United States ex rel. Neidecker, 299 U.S. 5, 10 (1936)

(“Moreover, the Supreme Court explained that “fiJt is a familiar rule that
the obligations of treaties should be liberally construed so as to give effect
to the apparent intention of the parties.”)) (citing Restatement (Third) of

' Foreign Relations Law).

d. Baltimore & Ohio RR. Co., 261 U.S. at 597-98 (“Such an agreement will

not be implied unless the meeting of minds was indicated by some
intelligible conduct, act or sign.”) (in the light of surrounding

circumstances).

e. Indiana R.F.R.A., LC. 34-13-9 et seq.

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f. Int’l Covenant on Civil and Political Rights (effective in 1992)
eg. Int’! Convention on the Rts. of the Child (1989) (mandatory executive
agreement).
h, Relief:
i. Dollar amount for loss of opportunity in money.
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix, All other forms of damages in money.
CLAIM 31. Causation (Indiana, Georgia, New York, California, New Jersey, Nevada,
and Delaware) —
d. But For / Substantial Causal Factor -
i, Google: Google is the entity that I used, and without their own
doing, the information would not have been blocked,
ii. Alphabet: Alphabet is the parent company.
e. Proximate Cause —
i. Google: Google appeared on my screen and its privacy policy
caused interfered with my religious rights.
ii. Alphabet: Alphabet’s nonfeasance caused these injuries.
f. Direct Cause —

i. Google: Google is the direct cause of the injury.

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_ ti,--Alphabet: Alphabet-accessorized Google and its policy in causing an
religious and mental and other injuries to me.
g. U.S. const. amend. XIV. See also 42 U.S.C. § 1981.
h. Indiana R.E.R.A., LC. 34-13-9 ef seq.
i. Relief:
i. Dollar amount for loss of opportunity m money.
ii. Dollar amount in money.
iii. Punitive damages in money.
iv. Consequential damages in money.
v. Compensation damages in money.
vi. Actual damages in money.
vii. Extreme Emotional Distress.
viii. Parasitic Damages.
ix. Ali other forms of damages in money.
DEMAND FOR RELIEF
WHEREFORE, The Excellent, The Excellent Raj K. Patel, with the interest further decency
within our Nation and upholding our Constitution, asks this Indiana Superior
Court to enter judgement in His Excellency, His Excellency’s favor and grant either
all or some of the following relief:
1. Relief described in the claims section above.
2. Award earned damages at $336,000,000.00 with treble damages. Ind. const. art. 1,
812. 42 U.S.C. §§ 1981 & 2000bb et seq.

3. Other remedies which the court might deem fit.

Respectfully submitted,

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SOoOMODAAROAN SS SHOeGSNAUB KN RB OwomnA NM bwWNrF OO eI AM EHH

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/s/ Raj K. Patel

Rama CCCX

'T.E., T.E. Raj K. Patel, AA, BA*, JD Candidate™ (pro se)
6850 East 21* Street

Indianapolis, IN 46219

Marion County

317-450-6651 (cell)

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T.E. Mr. President/Student Body President, Student Gov't
Ass’n of Emory U., Inc. 2013-2014 (corp. sovereign 2013-
present)

T.E. Mr. Student Body President, Brownsburg Cmty. Sch.
Corp./President, Brownsburg High Sch. Student Gov't
2009-2010 (corp. sovereign 2009-present)

Rep. from the Notre Dame L. Sch. Student B, Ass’n to the Ind.
St. B. Ass’n 2017

Deputy Regional Director, Young Democrats of Am.-High
Sch. Caucus 2008-2009

Co-Founder & Vice Chair, Ind. High Sch. Democrats 2009-
2010

Vice President of Fin. (Indep.), Oxford C. Republicans of
Emory U,, Inc. 2011-2012

Intern, Marion Cnty. Clerk Elizabeth “Beth” White for Sec’y
of St. of the St. of Ind. 2014

**T D, Candidate, Notre Dame L. Sch. (2015-17)
Volunteer, Barack Obama for America (2008)
Intern, Jill Long Thompson for Governor (2008)

*Political Science and Religion (cum laude), Emory
University Class of 2014

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CERTIFICATE OF SERVICE

In addition to service to the United States, I served the following individual via USPS
Mail on July 19, 2023:

ALPHABET INC.

CORPORATE SERVICE COMPANY
BECKY DEGEORGE

2710 Gateway Oaks Drive
Sacramento, CA 95833
sundar@google.com

GOOGLE LLC

CORPORATE SERVICE COMPANY
BECKY DEGEORGE

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Respectfully submitted,

/s/ Raj Patel

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